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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


IN RE APPLICATION OF CHANGPENG         Case No. ___ Misc.
ZHAO FOR AN ORDER TO TAKE
DISCOVERY FOR USE IN A FOREIGN
PROCEEDING PURSUANT TO 28 U.S.C.
§ 1782



          APPLICATION AND PETITION OF CHANGPENG ZHAO
                  FOR AN ORDER TO TAKE DISCOVERY
    FOR USE IN A FOREIGN PROCEEDING PURSUANT TO 28 U.S.C. § 1782




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       Petitioner Changpeng Zhao, pursuant to 28 U.S.C. § 1782 and Federal Rules of Civil

Procedure 26, 34, and 45, respectfully applies to this Court for an order authorizing Petitioner to

obtain certain limited discovery from Bloomberg L.P. and Bloomberg Inc. (“Bloomberg,” and

together with Bloomberg L.P., the “Respondents”) for use in a pending litigation before the Hong

Kong Court of First Instance (“Hong Kong Court”). In support of this Application, Petitioner

submits a Memorandum of Law and attaches the Declaration of Kei Cheung, Hui (also known as

John Hui) (the “Hui Declaration”), the Declaration of Pem C. Tshering (the “Tshering

Declaration”) and the Declaration of Natalie Ng (the “Ng Declaration”), each with accompanying

exhibits. The Proposed Order is attached as Exhibit A to the Tshering Declaration, the subpoenas

duces tecum to be served on each of the Respondents are attached as Exhibits B and C to the

Tshering Declaration, and the Notices of Deposition to be served on each of the Respondents are

attached as Exhibits D and E to the Tshering Declaration.



        Dated: New York, New York                       Respectfully submitted,
               July 25, 2022

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